Case 5:19-cv-00299-TES Document 1-1 Filed 07/26/19 Page 1 of 13




           EXHIBIT 1
                   Case 5:19-cv-00299-TES Document 1-1 Filed 07/26/19 Page 2 of 13




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20014810
Notice of Service of Process                                                                            Date Processed: 06/27/2019

Primary Contact:            Legal Department null
                            Berkshire Hathaway Homestate Insurance Company
                            1314 Douglas St
                            Ste 1300
                            Omaha, NE 68102-1944

Electronic copy provided to:                   Brian Kamp
                                               Dakota Feyerherm
                                               Dean Tarmey
                                               Brandi Pahl
                                               Nina Lane
                                               Chris Arispe
                                               Darius Regnier
                                               Anna Ehrenberg

Entity:                                       Cypress Insurance Company
                                              Entity ID Number 3640931
Entity Served:                                Cypress Insurance Company
Title of Action:                              5201 Houston Road, LLC vs. Cypress Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Bibb County Superior Court, GA
Case/Reference No:                            2019-CV-070807
Jurisdiction Served:                          Georgia
Date Served on CSC:                           06/27/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Joshua Hale
                                              478-292-7351

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                        IN THE SUPERIOR COURT OF BIBB COUNTY
                                 STATE OF GEORGIA



5201 HOUSTON ROAD, LLC
      Plaintiff
vs.                                                            CIVIL ACTION NO.:

`CYPRESS INSURANCE COMPANY                                     2019-CV-070807
                                                      I
          Defendant.


                                          SUMMONS

TO THE ABOVE NAMED DEFENDANT CYPRESS INSURANCE COMPANY:

      You are hereby summoned and required to file with the Clerk of said court and serve upon

the Plaintiffs attorney whose name and address is:

                                 ATTORNEY JOSHUA T. HALE
                                 LIGHTHOUSE LAW FIRM, LLC
                                   3646 VINEVILLE AVENUE
                                      MACON, GA 31204

an answer to the complaint, which is herewith served upon you, within 30 days after service of

this summons upon• you, exclusive of the day of service, If you fail to do so, judgment by

default will be taken against you for the relief demanded in the complaint.

          This 18th     day of    June               . 2019.

                                      Clerk of Superior Court


                                             /s/ Denise M. McGhee
                                      B
                                             Deputy Clerk
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                                                                      Bibb County Superior Court
                                                                                     Docket Date: 6/18/2019 2:58 PM

                                                                                                 Denise M. McGhee
                      IN THE SUPERIOR COURT OF BIBB COUNTY
                                STATE OF GEORGIA



5201 HOUSTON ROAD, LLC
      Plaintiff  '
vs.-                                                        CIVIL ACTION NO.:
                                                     }       2019-CV-070807
CYPRESS INSURANCE COMPANY                            }

       Defendant.




                               COMPLAINT FOR DAMAGES
       COMES NOW, 5201 HOUSTON ROAD, LLC, Plaintiff in the above-styled action, by

                                tile this, their COMPLAINT FOR DAMAGES
and through their undersigned counsel, and

against CYPRESS INSURANCE COMPANY, Defendant herein, and respectfully show the

Court as follows:

                                JURISDICTION AND VENUE

                                                1.

       Defendant, CYPRESS INSURANCE COMPANY, (hereinafter referred to as

"Defendant") is a corporation who upon information and belief has its principal office at One'

California Street; Suite 600, San. Francisco, California 94111. Defendant may be served with

process by serving its Registered Agent, Corporation Service Company, at 40 Technology Pkwy

South, #300, Norcross, GA 30092.



       Plaintiff, 5201 HOUSTON ROAD, LLC, (hereinafter referred to as Plaintiff") is a

limited, liability company organized.and existing under the laws of the State of-Georgia and •




                                                                                                             DM
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maintains its principle office at 2784 Riverside Dr, Macon, Bibb County, eorgia, 31204

                                                  3.

        befendant is a company registered to do business in the State of Georgia and, therefore,

is subject to the jurisdiction of this Court.

                                                  4.

        Venue is proper in this Court because the Contract, as hereinafter defined, was executed

in Bibb County, Georgia, and the subject matter of said Contract is that certain property located

in Bibb County, Georgia,. commonly known and designated as 5201 Houston Road, Macon, Bibb

County, Georgia 31216 (the "Property");

                                                - 5.

        By virtue of the facts aforementioned and, hereinafter alleged, venue is properly laid in

this Court.



                                        RELEVANT FACTS

                                                  6.

        Plaintiffs re-allege and incorporate by reference hereto Paragraphs 1 through 5 of their

" Complaint as if said paragraphs were fully set forth herein.

                                                 7.

        Plaintiff and Defendant entered into that certain commercial property insurance contract,

 designated. as Commercial Property Policy Number 03PRM022074-02 (the "Contract"), which

 provided insurance coverage on the Property, specifically including, a Vandalism Limitation, a

 Copper Theft Limitation, and other property daniage.

                                                  8.
        Case 5:19-cv-00299-TES Document 1-1 Filed 07/26/19 Page 6 of 13


       The Contract provided covdrttge on e Property for the period of October 2, 2016 to

October 2, 2017.

                                               9.

       On or about July 3,2017. an agent of Plaintiff discovered damage at the Property.

                                               10.

       Said agent contacted the Bibb County Sheriffs Office, who inspected the Property and

made a report of their findings (Case # 2917-00074928).
                                         ,•
                                               11.

       Within a few days of the police report being generated, said agent also filed a claim with

Defendant and Claith Number 00424668 was initiated.

                                               12.

       Bridgewater Group, Tue. served as the "Claim Rep" for. Defendant, visited and inspected

the Property, and generated a report indicating a Replacement Cost Value of $85,746.15 and an

Actual Cash Value of $60,669.21.

                                               13.

       While Plaintiff has paid $25,000.00 toward one occurrence of copper theft, to date,

Plaintiff and Defendant have been unable to agree on the amount owed under the Contract.

                                               14.

       In spite of numerous den ands for payment made by Plaintiff, Defendanthas deliberately

and steadfastly refused to pay the same.

                                       COUNT I
                                  BREACH OF CONTRACT

                                               15.

       Plaintiff re-alleges and incorporates by reference hereto Paragraphs 1 through 14 of its
        Case 5:19-cv-00299-TES Document 1-1 Filed 07/26/19 Page 7 of 13


Complaint as if said paragraphs were filly set forth herein.

                                                 16.

       l~lai:ntiff performed its seas=ices and   illecl each and every requirement per the terms of

the Contract.

                                                 17.

       Plaintiff steered property damage, vandalism, and copper the

                                                 18. .

       Defendant has deliberately and steadfastly refused to.pay anything toward the Vandalism

Limitation and more than one occurrence of Copper Theft and is, therefore, in breach of the

Contract,

                                                 19.

       Defendant has deliberately and steadfastly refused to pay the amountindicated by its

Claim Rep and is, therefore, in breach of the Contract.

                                           COUNT 11
                                        ATTORNEY'S FEES

                                                  0.

       Plaintiff re-alleges and incorporate by reference hereto Paragraphs 1 through 19 as if said

Par   aphs were fully set forth herein.

                                                 2L

       Defendants have acted in bad faith, have been stubbornly litigious and have caused the

Plaintiffunnecessary trouble and expense.

                                                 22.

       Plaintiff is entitled to attorney's fees and costs pursuant to O.C.G.A. § 13-6-11.

       'WHEREFORE, Plaintiff prays for the following relief:
          Case 5:19-cv-00299-TES Document 1-1 Filed 07/26/19 Page 8 of 13


         (a)        That summons and process issue in terms of law.'

        ' (b)       That Defendants 'be held liable on all cOunts alleged herein;

         (c)        That Plaintiff have and recover judgment against Defendant for damages in an

         amount provided for in the Contract, the same not being less than the Vandalism Limitation,

         the Copper Theft Limitation, and the property damage as reported by the, Claim Rep;

         (d)        That Plaintiff be awarded attorney's fees to cover the cost of their representation in

         this matter;

         (e)        That Plaintiff be. allowed to seasonably amend these pleadings as necessary;

         (f)        That Plaintiff have such other and further relief as the Court deems equitable and

just.

               is      day of     3 (-14/                   , 2019.

                                                              Z1-17/./(--
                                                             oslhu Hale
                                                            State Bar No.: 117211
                                                            Attorney for Plaintiff



Joshua. Hale
Lighthouse Law Firm
3646 Vineville Avenue
Macon, GA 31204
(478) 292-7351
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                                                                               VERIFICATION

                        PerSonally appeared before the undersigned officer duly authorized to administer oaths, a

  duly authorized signatory for 5201 HOUSTON ROAD, LLC, whom after being duly sworn,

  deposes and says, that the facts eou allied in the foregoing are true acid correct to the best of their

  knowledge.


                        This                            day of                   , 2019.



                                                                                           Venkat Sarijeev
                                                                                           Manager, 5201 HOU TON ROAD.

  Sworn                        and subscribed befo

  this it day Of                                                      ,2019.




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         Case 5:19-cv-00299-TES Document 1-1 Filed 07/26/19 Page 10 of 13
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                                                                                                                                                 Denise M. McGhee
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    and - oniidered„, and!A'aP                                     tet. the,,Court.:             at: Well' appointment.ts atithqrized
    0 C.G:A2.§?-1:174(c)Ati,SliOnlii•                              Mack;                                .•

            IT IS HEREBY: O 7ERED that AAltRY. STAPLETON is specially apPointed,

                 and direcied                        serve a coPy:of ;the toMplaint, witlr.summons attached,

    'Plaintiff's Motion or".Appointment of SpeCial process Sever, along with a copy of ithis

    Order "upon. Defendants, CyP,resS Insurance Company, and to make and .file proofs of
                                                   •- •
                                                                                 k   ,




    service as required by-law.
                           law. .
              '                 -
                                  '26th
          `;.SO ORDERED this         , 1 day of June:, 20.19.




                                                                                             e,„ Bibb Superior Court

                                                                                                    :




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.          ' !
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                                                                                                 Bibb County Superior Court
                                                                                                              Docket Date: 6/18/2019 2:58 PM

                                                                                                                            Denise M. McGhee

                                                      INS. THE SUPERIOR COURT OF BI1313 COUNTY.
                        c                                       STATE OF GEORGIA
                                                            . ,
                            520t, HOUSTON ROAD,LLC
                                    Plaintiff
                            vs.                                                         XIVIL ACTION NO.:
                                                                                          2019-Cv7O19807
                            CYPRESS INSURANCE COMPANY
                                    Defendant'

                                                       ..
                                                     PLAINTIFF MOTION FOR APPOINTMENT
                                                          OF SPECIAL PROCESS SERVER

                                    COMES. NOW, 5201 Houston Road, liC,. Plaintiff, in the above captioned

.':.r                       action, and moves this Court .for appointment of a special process server       . serve- the'
  S
  .,.                                           '5

X
' :             -           Defendant, Cypress. InsUrance Company,• with Plaintiffs Complaint for. Damages with
NO                                                                              .                   ,
                    ,       Summons attached and shows'the following in support thereof


'00...
  ... .,,. .,
                                    In accordance                            •process shalt be served by the. appointed

                            special process server of the county where th'e action is brought or where the Defendant is
                                                                         p

                            found, o .by any citizen of the United States specially appointed by the Court for that

                            purpope.




                                    Plaintiff request and move this Court to appoint Barry Stapleton of Macon,

                            Georgia, who is a licensed private investigator with Stapleton Legal & Investigative

                            Services, as special process server who will attempt to serve Plaintiffs Complaint for

                            Damages with Summons attached, Plaintiffs Motion for Appointment of Special Process

                            Server, and Order granting Plaintiff's Motion for Appointment of Special Process Server

                            upon Defendant, Cypress Insurance Company.        •
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                                             3.

        The ,appointment of a special process server is to the benefit and best interest of

all parties.



        The appOintment of a special process server is in the best nterest of justice.

                                             5. •

        Plaintiff desires special process service of said Defendant because Defendant his

been avoiding certified mail and other forms of service.



        Barry Stapleton is a citizen of the United States, and is over twenty-one (21) years

of age. He is neither an employee of Plaintiff or Plaintiffs counsel, and is ready, willing,

and able to serve the named Defendant.

                                             7.

        Barry Stapleton is not related to the Plaintiff and has no interest in the outcome of

this action.



        WHEREFORE, Plaintiff prays and moves this Court to grant his motion and

appoint BARRY STAPLETON as a special process server to serve Plaintiffs Complaint

for Damages, with Summons attached, Plaintiffs Motion for Appointment of Special

Process Server, and Order granting Plaintiff's Motion for Appointment of Special Process

Server upon Defendant, Cypress Insurance Company.
    Case 5:19-cv-00299-TES Document 1-1 Filed 07/26/19 Page 13 of 13




       saiviOVE:b,•-this 18th day of june, 2019.



                                            Joshua T. Hale
                                            Attorney for Plaintiff
                                            State Bar No. 117211
3646 Vineville Ave.
Macon, GA 31204
(478)292-7351
josInta@lighthouse.legal
